    Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 1 of 37




          IN THE UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

EPSILON ENERGY USA, INC.,          No. 3:18-cv-01852-RDM

               Plaintiff,          Electronically Filed

         vs.

CHESAPEAKE APPALACHIA,
L.L.C.,

               Defendant.

   DEFENDANT CHESAPEAKE APPALACHIA, L.L.C.’S BRIEF IN
OPPOSITION TO PLAINTIFF EPSILON ENERGY USA INC.’S MOTION
   FOR TEMPORARY AND PRELIMINARY INJUNCTIVE RELIEF



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          Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 2 of 37




                                        TABLE OF CONTENTS

                                                                                                               Page
BACKGROUND .......................................................................................................2

LEGAL STANDARDS .............................................................................................6

ARGUMENT .............................................................................................................7

I.       EPSILON WILL NOT SUFFER IRREPARABLE HARM
         WITHOUT INJUNCTIVE RELIEF BECAUSE MONETARY
         DAMAGES ARE AN ADEQUATE REMEDY AT LAW. ...........................7

         A.       Epsilon Cannot Meet the Stringent Irreparable Harm Standard
                  the Third Circuit Applies in Breach of Contract Cases. .......................8

         B.       Epsilon’s Claims of Irreparable Harm are Belied By the
                  Monetary Damages it Seeks in Its Breach of Contract Claim. .............9

         C.       Epsilon’s Claims of Irreparable Harm to Its Property Interests
                  Ignore Pennsylvania Law. ...................................................................11

II.      CHESAPEAKE WILL SUFFER SIGNIFICANT HARM IF THE
         COURT GRANTS INJUNCTIVE RELIEF..................................................13

III.     GRANTING INJUNCTIVE RELIEF WILL HARM THIRD
         PARTIES AND IS NOT IN THE PUBLIC INTEREST. .............................15

IV.      EPSILON DOES NOT HAVE A LIKELIHOOD OF SUCCESS ON
         THE MERITS OF ITS BREACH OF CONTRACT CLAIMS. ...................18

         A.       Epsilon Cannot Meet the Stringent Standards Applied for
                  Assessing its Likelihood of Success on the Merits. ............................19

         B.       Epsilon Does Not Have a Likelihood of Success On the Merits
                  Because Chesapeake Did Not Breach the JOAs. ................................19

                  (i)      The JOAs Contain An Exculpatory Clause That Relieves
                           the Operator, Chesapeake, From Contract Liability. ................19




                                                        -i-
          Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 3 of 37




                  (ii)     Chesapeake Did Not Breach the JOAs By Not Drilling
                           the Epsilon Wells Because Epsilon Did Not Re-Submit
                           Its Proposal for Them, as Required Under the JOAs................21

                  (iii)    Chesapeake Did Not Breach Any Required Process in the
                           JOAs in Proposing the Allocation Wells Because the
                           Allocation Wells and the Epsilon Wells Do Not Conflict. .......23

                  (iv)     Chesapeake Did Not Breach or “Unilaterally Amend” the
                           JOAs in Proposing the Allocation Wells, and Epsilon’s
                           Non-Consent Precludes Further Challenge...............................25

V.       IF THE COURT GRANTS THE MOTION, WHICH IT SHOULD
         NOT, IT SHOULD REQUIRE EPSILON TO POST A
         SIGNIFICANT BOND. .................................................................................26

CONCLUSION ........................................................................................................27




                                                       - ii -
          Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 4 of 37




                                   TABLE OF AUTHORITIES

                                                                                                       Page(s)

Cases
A.L.K. Corp. v. Columbia Pictures & Indus., Inc.,
   400 F.2d 761 (3d Cir. 1971) ................................................................................. 9

Acierno v. New Castle County,
   40 F.3d 645 (3d Cir. 1994) .........................................................................8, 9, 12

American Telephone & Telegraph Co. v. Winback and Conserve
  Program, Inc.,
  42 F.3d 1421 (3d. Cir. 1994) ................................................................................ 7

Anchel v. Shea,
  762 A.2d 346 (Pa. Super. 2000) ......................................................................... 20

In re Arthur Treacher’s Franchisee Litigation,
    689 F.2d 1137 (3d Cir. 1982) .........................................................................8, 10

Beberman v. U.S. Dep’t of State,
  675 Fed. App’x 131 (3d Cir. 2017) ...................................................................... 8

Bohm v. Straw,
  2013 WL 100441 (W.D. Pa. Jan. 8, 2013) ........................................................... 6

Cobell v. Norton,
  226 F. Supp. 2d 1 (D.D.C. 2002) ........................................................................ 16

Continental Group, Inc. v. Amoco Chemicals Corp.,
  614 F.2d 351 (3d Cir. 1980) ................................................................................. 8

Delaware Port Authority v. Transamerican Trailer Transport, Inc.,
  501 F.2d 917 (3d Cir. 1974) ............................................................................... 16

Doe v. Calcutta,
  592 F.2d 704 (3d Cir. 1979) ............................................................................... 16

East Tennessee Natural Gas Co. v. Sage,
  361 F.3d 808 (4th Cir. 2004) .............................................................................. 16



                                                     - iii -
         Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 5 of 37




United States ex rel. Greenmoor, Inc. v. Travelers Cas. & Sur. Co. of
  Am.,
  2009 WL 4730233 (W.D. Pa. Dec. 4, 2009) ...................................................... 21

Guardian Pipeline, LLC v. 295.49 Acres of Land,
  2008 WL 1751358 (E.D. Wis. Apr. 11, 2008) ................................................... 17

Gulf Crossing Pipeline Co. v. 86.36 Acres of Land,
  2008 WL 2465892 (W.D. La. June 18, 2008) .................................................... 17

Habitat Educ. Ctr. v. U.S. Forest Serv.,
  607 F.3d 453 (7th Cir. 2010) .............................................................................. 27

Halide Group, Inc. v. Hyosung Corp.,
  2010 WL 4456928 (E.D. Pa. Nov. 8, 2010) ......................................................... 9

Hoxworth v. Blinder, Robinson & Co., Inc.,
  903 F.2d 186 (3d Cir. 1990) ............................................................................... 14

Instant Air Freight v. C.F. Air Freight, Inc.,
   882 F.2d 797 (3d Cir. 1989) ...................................................................10, 26, 27

J. Corman Family LP v. Devon Energy Production Co.,
    2017 WL 4053858 (W.D. Okla Sept. 13, 2017) ................................................... 9

J&S Development Corp. v. Montrose Global Assets, Inc.,
  279 Fed. App’x 131 (3d Cir. 2008) .................................................................... 14

Lichtenfels v. Bridgeview Coal Co.,
   344 Pa. Super. 257, 496 A.2d 782 (1985) .......................................................... 12

Markowicz v. SWEPI, LP,
  940 F. Supp. 2d 222 (M.D. Pa. 2014) ................................................................. 12

Medical Marketing Consultants, LLC v. Cardiac Telecom Corp.,
  2007 WL 1811188 (W.D. Pa. May 31, 2007) .................................................... 10

N. Am. Commc’ns v. Herman,
   2018 WL 1229709 (W.D. Pa. Mar. 8, 2018) ...................................................... 14

Ouachita Watch League v. U.S. Forest Serv.,
  2014 WL 11498055 (E.D. Ark. Dec. 15, 2014) ................................................. 17



                                                    - iv -
          Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 6 of 37




Pella Prods., Inc. v. Pella Corp,
   2018 WL 2734820 (M.D. Pa. June 7, 2018)....................................................... 27

Persaud v. Exxon Corp.,
   867 F. Supp. 128 (E.D.N.Y. 1994) ..................................................................... 15

Reeder v. Wood County Energy, LLC,
   395 S.W.3d 789 (Tex. 2012) .............................................................................. 20

Rosa-Diaz v. Harry,
  2017 WL 7038469 (M.D. Pa. Dec. 21, 2017) ...................................................... 7

Sabal Trail Transmission, LLC v. +/- 2.62 Acres of Land in Hamilton
   County Florida,
   2016 WL 3188976 (M.D. Fla. June 8, 2016) ..................................................... 27

Shavei-Tzion v. Cadles of Grassy Meadows, II, LLC,
   2017 WL 2463171 (M.D. Pa. June 7, 2017) (Mannion, J.) .................................. 7

Stine v. Marathon Oil. Co.,
   976 F.2d 254 (5th Cir. 1992) .............................................................................. 20

Susquehanna Commercial Fin., Inc. v. Vascular Res., Inc.,
   2010 WL 95127 (M.D. Pa. Jan. 6, 2010)............................................8, 14, 19, 26

Synthes, Inc. v. Gregoris,
   228 F. Supp. 3d 421 (E.D. Pa. 2017) .................................................................. 13

Transcon. Gas Pipe Line Co. v. Permanent Easements for 5.67 Acres,
   2017 WL 3412374 (M.D. Pa. Aug. 9, 2017) ................................................17, 26

Trumbull Corp. v. Boss Constr., Inc.,
   801 A.2d 1289 (Pa. Cmwlth. 2002) .................................................................... 22

Video Pipeline, Inc. v. Buena Vista Home Entertainment, Inc.,
   342 F.3d 191 (3d Cir. 2003) ................................................................................. 6

Walker v. O’Bannon,
  487 F. Supp. 1151 (W.D. Pa. 1980)...................................................................... 6

Walney v. SWEPI LP,
  2018 WL 4076919 (W.D. Pa. Aug. 27, 2018) .................................................... 24



                                                      -v-
          Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 7 of 37




Winter v. NRDC, Inc.,
  555 U.S. 7, 129 S.Ct. 365 ..................................................................................... 6

Rules
Fed. R. Civ. P. 65(c).............................................................................................6, 26

Other Authorities
1 Kuntz, Law of Oil and Gas § 5.6 .......................................................................... 12

Eugene Kuntz, A Treatise on the Law of Oil and Gas § 5.3 (Matthew
  Bender, Rev. Ed.) ................................................................................................ 11

Patrick H. Martin and Bruce M. Kramer, Williams & Meyers, Oil and
   Gas Law § 502 (LexisNexis Matthew Bender 2012) ......................................... 11

Williams & Meyers, Manual of Oil and Gas Terms, 372 (2003) ............................ 19




                                                        - vi -
       Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 8 of 37




      Epsilon Energy USA Inc.’s (“Epsilon”) filed a Motion for Temporary and

Preliminary Injunctive Relief (the “Motion”) asking this Court for extraordinary

relief to prevent Chesapeake Appalachia, L.L.C. (“Chesapeake”) from drilling

certain wells and continuing its business operations because of a contractual dispute

between the parties. The Court should deny the Motion. Epsilon has not and cannot

meet the stringent factors that it must prove to obtain preliminary injunctive relief.

Preliminary injunctive relief is not justified unless the moving party demonstrates

that it will suffer irreparable harm. Epsilon has not and cannot meet this burden

because there is no irreparable harm. This is a contract dispute where adequate

money damages are available to Epsilon and, in fact, Epsilon has pleaded that it is

entitled to actual damages. Although in its Motion Epsilon attempts to transform its

breach of contract claim into one allegedly affecting property rights, there is no

factual or legal support for this claim. On this basis alone, Epsilon’s request for

preliminary injunctive relief has no merit and must fail.

      Even if the Court looks past this fatal deficiency to Epsilon’s Motion, none of

the other factors warrant a preliminary injunction. Granting the injunctive relief will

cause Chesapeake to suffer irreparable harm because its schedule for drilling and

operating the wells will be significantly delayed, thereby jeopardizing their

completion and the beneficial use and enjoyment of Chesapeake’s oil and gas

leasehold interests. Similarly, third-parties and the public interest will be harmed if



                                         -1-
       Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 9 of 37




injunctive relief is granted. Other working interest owners under the contracts and

the royalty owners in the applicable units, none of whom are parties to this injunction

proceeding, will not receive payments for production related to Chesapeake’s

proposed wells, and the public will be deprived of a necessary natural gas supply.

Finally, Epsilon does not have a likelihood of success on the merits of its contract

claims because it cannot show that Chesapeake breached the contracts.

      Epsilon cannot meet its heavy burden for injunctive relief, and the Court

should therefore deny the Motion. If the Court grants the Motion, which it should

not, Chesapeake requests that Epsilon post a bond in the amount of at least

$22,000,000 to secure the costs that Chesapeake will incur.

                                 BACKGROUND

      Chesapeake and Epsilon, among others, are parties to JOAs for the exploration

and development of oil and gas underlying land in Susquehanna County,

Pennsylvania. See Compl. ¶ 12. The first relevant JOA, dated July 6, 2010, is for a

pooled unit known as the Cannella North Unit (the “Cannella North JOA”). Id. ¶ 13,

Exhibit 1. Epsilon has a 25.6 percent working interest in the Cannella North JOA,

and Chesapeake has a 40.5 percent working interest. Id. The second relevant JOA,

dated July 12, 2010, is for a pooled unit known as the Rylee North Unit (the “Rylee

North JOA”). Id. ¶ 14, Exhibit 2. Epsilon has a 1.58 percent working interest in the

Rylee North JOA, and Chesapeake has a 64.1 percent working interest. Id. The



                                         -2-
      Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 10 of 37




third relevant JOA, dated June 10, 2014 is for a pooled unit known as the Cannella

South Unit (the “Cannella South JOA”). Id. ¶ 17, Exhibit 5. Epsilon has a 4.07

percent working interest in the Cannella South Unit, and Chesapeake has a 48.2

percent working interest. Id.

      On February 8, 2018, Epsilon proposed two wells to be drilled, one in the

Cannella North Unit pursuant to the terms of the Cannella North JOA, and one in

the Cannella South Unit pursuant to the terms of the Cannella South JOA (the

“Epsilon Wells”). See, e.g., id. ¶ 48.1 The Epsilon Wells targeted the Lower

Marcellus Formation. Id. ¶¶ 58-59. On March 8, 2018, within the 30-day notice

period required under the Cannella North JOA and the Cannella South JOA (the

“Cannella JOAs”), Chesapeake elected to participate in and operate the Cannella

North Unit and the Cannella South Unit, but did not intend to participate in and

operate the Epsilon Wells. See Declaration of Courtney Moad (“Moad Decl.”) ¶ 6.

Chesapeake’s intention was made clear in its March 8, 2018 election and in

subsequent discussions with Epsilon. Id. The other parties to the Cannella South

JOA elected to participate in the Epsilon Wells. See Compl. ¶ 50. Commencement

of the Epsilon Wells did not occur within 90 days following the expiration of the 30-

day notice period. See, e.g., id. ¶¶ 51-52. After these 90 days elapsed, however,



1
  Epsilon also proposed another well to be drilled in the Cannella South Unit
pursuant to the terms of the Cannella South JOA (“Cannella 6H”). See Compl. ¶ 48.

                                        -3-
      Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 11 of 37




neither Epsilon nor any other party resubmitted a proposal for the Epsilon Wells, as

required under the Cannella JOAs, and therefore, the plans to drill and operate them

lapsed. See Article V.B.1.; Moad Decl. ¶ 7.

      On August 15, 2018, Chesapeake proposed three wells to the other parties to

the JOAs. See Compl. ¶¶ 49, 53, Exhibit 9. The first well was the same as Cannella

6H. Id. ¶ 49. The two other wells crossed into both the Cannella South Unit and the

Rylee North Unit (the “Allocation Wells”). Id. ¶ 54. Unlike the Epsilon Wells, the

Allocation Wells target the Upper Marcellus Formation. Id. ¶ 58.2 The Allocation

Wells will not traverse any lease in which Epsilon has an interest.3 See Moad Decl.

¶ 9; see also id., Exhibit 2 (map of Allocation Wells).

      Also on August 15, 2018, Chesapeake sent the parties to the JOAs an

Allocation Consent Agreement (the “Allocation Agreement”), which proposed the

method and formula by which the costs and production of the Allocation Wells

would be allocated among the parties. See Compl. ¶ 56, Exhibit 10. For both of the

Allocation Wells, an Allocation Factor would first be determined by dividing the

length of the portion of the productive drainhole length of the Allocation Well that



2
  Chesapeake does not concede the allegation in Paragraph 58 of the Complaint that
the Upper Marcellus Formation is less productive than the Lower Marcellus
Formation. See Compl. ¶ 58.
3
  Each party to a JOA do not necessarily have an actual interest in every lease within
the area covered by the JOA. Rather, certain parties only have actual interests in
certain leases within the area covered by the JOA.

                                        -4-
      Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 12 of 37




lies within each respective unit by the entire productive drainhole length of the

Allocation Well. Id. Second, the Allocation Factor would be multiplied by each

party’s working and net revenue interest in each unit. Id. Third, the equation for

each unit would be summed together to determine each party’s respective working

and net revenue interest for the Allocation Well. Id. Through the use of this formula,

no party’s interest in either JOA was reduced. See Moad Decl. ¶ 13. The Allocation

Agreement stated that besides this method and formula, the JOAs would continue to

govern the rights and obligation of the parties. See Compl., Exhibit 10.

      On September 14, 2018, Epsilon advised Chesapeake that it did not consent

to the Allocation Wells or the Allocation Agreement. Id. ¶ 63, Exhibit 11. Epsilon

asserted that under the Cannella South JOA, Chesapeake was required to propose

the Allocation Wells within 30 days of Epsilon’s proposal of the Epsilon Wells

because they conflicted. Id. ¶ 65, Exhibit 11. Second, Epsilon asserted that under

the Cannella JOAs, Chesapeake was required to, but did not, commence operations

on the Epsilon Well’s within 90 days of the parties’ consent. Id., Exhibit 11. Third,

Epsilon asserted that the JOAs do not permit cross-unit wells, such as the Allocation

Wells, and that all parties to the JOAs were required to execute the Allocation

Agreement before Chesapeake could drill the Allocation Wells. Id. ¶ 64, Exhibit 11.

Last, while Epsilon demanded that Chesapeake drill the Epsilon Wells, see id.,

Exhibit 11, Epsilon did not re-propose them, as was required under the JOAs. See



                                        -5-
       Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 13 of 37




Moad Decl. ¶ 7. Notwithstanding Epsilon’s objections, every other party to the

JOAs consented to the Allocation Wells. See id. ¶ 14.

                              LEGAL STANDARDS

      A court may enter preliminary injunction if the moving party demonstrates:

(1) a likelihood of success on the merits; (2) the extent to which it will suffer

irreparable harm without injunctive relief; (3) the extent to which the non-moving

party will suffer irreparable harm if the injunction is issued; and (4) that granted

relief will be in the public interest. See, e.g., Winter v. NRDC, Inc., 555 U.S. 7, 20,

129 S.Ct. 365, 172 L.E.2d 249 (2008); Video Pipeline, Inc. v. Buena Vista Home

Entertainment, Inc., 342 F.3d 191, 196 (3d Cir. 2003). The court may require the

party moving for a preliminary injunction to post a bond sufficient to compensate

the adverse party for any losses. See Fed. R. Civ. P. 65(c).4

      The Court should issue injunctive relief only if the movant produces sufficient

evidence to convince the trial judge that all four factors favor injunctive relief. See

Bohm v. Straw, 2013 WL 100441, at *11 (W.D. Pa. Jan. 8, 2013). The grant of

injunctive relief is an “extraordinary remedy which should be granted only in limited

circumstances.” American Telephone & Telegraph Co. v. Winback and Conserve



4
  Although the elements are the same, Epsilon’s request for a temporary restraining
order is mooted by the passage of the 14 days specified in Fed. R. Civ. P. 65(b)(2)
and the Court’s holding of a hearing for Epsilon’s request for a preliminary
injunction. See Walker v. O’Bannon, 487 F. Supp. 1151, 1153 (W.D. Pa. 1980).

                                         -6-
       Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 14 of 37




Program, Inc., 42 F.3d 1421, 1426-27 (3d. Cir. 1994). Indeed, the moving party

“bears a heavy burden on a motion for preliminary injunction.” Rosa-Diaz v. Harry,

2017 WL 7038469, at *3 (M.D. Pa. Dec. 21, 2017). Epsilon cannot meet any of the

elements for a preliminary injunction, and the Court should deny the Motion. If the

Court grants the Motion, it should require Epsilon to post a bond that will

compensate Chesapeake for the significant delay damages that it will incur.

                                    ARGUMENT

I.    EPSILON WILL NOT SUFFER IRREPARABLE HARM WITHOUT
      INJUNCTIVE RELIEF BECAUSE MONETARY DAMAGES ARE AN
      ADEQUATE REMEDY AT LAW.
      Epsilon cannot show that it will suffer irreparable harm without injunctive

relief and, absent this necessary showing, Epsilon’s request for an injunction must

fail. See Shavei-Tzion v. Cadles of Grassy Meadows, II, LLC, 2017 WL 2463171,

at *4 (M.D. Pa. June 7, 2017) (Mannion, J.) (denying preliminary injunction where

there was no irreparable harm). In the Complaint, Epsilon seeks monetary damages.

Those monetary damages are an adequate remedy for the alleged breach of contract

claim. Epsilon attempts to transform its breach of contract claim into one involving

its property interests that, absent injunctive relief, will allegedly be harmed by

Chesapeake, one of its co-tenants under the JOAs. However, in doing so, Epsilon

ignores that it has no interests in the leases through which the Allocation Wells will

traverse, and even if it did have such an interest, ignores this Court’s recognition that



                                          -7-
      Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 15 of 37




Pennsylvania law authorizes a co-tenant to produce oil and gas without the consent

of the other co-tenants. Even where a co-tenant engages in conduct that deprives the

other co-tenants of their mineral rights, which Chesapeake does not concede

occurred here, damages are the appropriate, and adequate, remedy.

      A.     Epsilon Cannot Meet the Stringent Irreparable Harm Standard the
             Third Circuit Applies in Breach of Contract Cases.

      “Irreparable harm” is a harm that cannot be remedied by the payment of

damages. See, e.g., Beberman v. U.S. Dep’t of State, 675 Fed. App’x 131, 134 (3d

Cir. 2017). An injury warranting a preliminary injunction must “be of a peculiar

nature, so that compensation in money cannot atone for it.” See Acierno v. New

Castle County, 40 F.3d 645, 653 (3d Cir. 1994). Establishing a risk of irreparable

harm is not enough; rather, a plaintiff has the burden of proving a “clear showing of

immediate irreparable harm.” See Continental Group, Inc. v. Amoco Chemicals

Corp., 614 F.2d 351, 359 (3d Cir. 1980).

      “In a contract dispute, where damages are a readily available remedy, proving

irreparable harm entails specific and compelling proof since it is well established

that a plaintiff in a breach of contract case cannot routinely convert monetary harm

into irreparable harm.” Susquehanna Commercial Fin., Inc. v. Vascular Res., Inc.,

2010 WL 95127, at *6 (M.D. Pa. Jan. 6, 2010); In re Arthur Treacher’s Franchisee

Litigation, 689 F.2d 1137, 1145 (3d Cir. 1982) (“[W]e have never upheld an

injunction where the claimed injury constituted a loss of money, a loss capable of


                                        -8-
       Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 16 of 37




recoupment in a proper action at law.”); J. Corman Family LP v. Devon Energy

Production Co., 2017 WL 4053858, at *1 (W.D. Okla Sept. 13, 2017) (“This is an

ideal case for monetary damages. Plaintiff alleges that Defendant has violated – and

continues to violate – a Joint Operating Agreement.”).

      When the claim is based on a breach of contract, irreparable injury may only

be found in two situations: (1) where the subject matter of the contract is of such a

special nature or peculiar value that damages would be inadequate; or (2) where

because of some special and practical features of the contract, it is impossible to

ascertain the legal measure of loss so that money damages are impracticable. See

A.L.K. Corp. v. Columbia Pictures & Indus., Inc., 400 F.2d 761, 763 (3d Cir. 1971).

However, “[a]n inability to precisely measure financial harm does not make that

harm irreparable or immeasurable.” Acierno, 40 F.3d at 655; Halide Group, Inc. v.

Hyosung Corp., 2010 WL 4456928, at *5 (E.D. Pa. Nov. 8, 2010) (“[W]hile it may

be difficult to determine the amounts that Hyosung may have received if Hyosung

has used the License without having a right to do so, money damages can

compensate Halide for any harm that it may have suffered.”). Epsilon cannot meet

this strict standard. There is no irreparable harm.

      B.     Epsilon’s Claims of Irreparable Harm are Belied By the Monetary
             Damages it Seeks in Its Breach of Contract Claim.

      In its Verified Complaint, Epsilon asserts it is entitled to money damages in

its breach of contract claim related to the Epsilon Wells and the Allocation Wells.


                                         -9-
       Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 17 of 37




See Count VI, WHEREFORE Clause (requesting “actual damages representing the

harm Epsilon has suffered as a result of [Chesapeake’s] refusal to commence

operations on the Cannella Wells and [Chesapeake’s] affirmative steps towards

operating the Allocation Wells[.]”). Epsilon therefore cannot claim that it “is

incapable of measuring the damages caused by [Chesapeake’s] disruption of its

mineral-extraction efforts.” See Epsilon Brief at 19. Even when not contradicted by

the plaintiff’s own pleadings, courts routinely reject such generalized statements as

the basis for a claim of irreparable harm. See Instant Air Freight v. C.F. Air Freight,

Inc., 882 F.2d 797, 803 (3d Cir. 1989) (holding that plaintiff failed to prove

irreparable harm where it had “no clear factual record apart from general statements

to the effect that [plaintiff] will no longer exist as a result of the termination.”); In re

Arthur Treacher’s Franchise Litigation, 689 F.2d at 1146 (holding that alleged

imminent threat of bankruptcy was insufficient to constitute irreparable injury where

record consisted principally of general statements pertaining to refusal of franchisees

to pay royalties); Medical Marketing Consultants, LLC v. Cardiac Telecom Corp.,

2007 WL 1811188, at *8 (W.D. Pa. May 31, 2007) (denying injunctive relief where

the court did “not have any evidence before it to suggest that the demise of [plaintiff]

was imminent”). This court should similarly reject Epsilon’s unsubstantiated, and

self-contradicted, claims of irreparable harm.




                                           - 10 -
      Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 18 of 37




      C.     Epsilon’s Claims of Irreparable Harm to Its Property Interests
             Ignore Pennsylvania Law.

      Epsilon next claims that it will be irreparably harmed absent injunctive relief

because Chesapeake will somehow impair its mineral rights underlying the Cannella

South Unit and the Rylee North Unit by drilling the Allocation Wells. This claim

ignores that Epsilon does not hold any interests in the leases through which the

Allocation Wells will traverse. See Moad Decl. ¶ 9; see also id., Exhibit 2. Epsilon

has failed to cite any Pennsylvania law for its proposition that by virtue of its

participation in the JOAs, it has gained some undefined property right in the oil and

gas leases that the Allocation Wells will traverse. See Epsilon’s Brief at 20. Epsilon

has failed to establish any harm to its property and, in fact, its property rights are

unaffected by the Allocation Wells. Even if its participation in the JOAs vests

Epsilon with some ownership in the gas attributable to the leases through which the

Allocation Wells will traverse, this is insufficient to establish irreparable harm. As

this Court has explained:

      Pennsylvania long has been recognized as counting among the majority
      of states permitting “a cotenant in the fee . . . to explore for and produce
      oil and gas without consent of his cotenants.” Eugene Kuntz, A Treatise
      on the Law of Oil and Gas § 5.3 (Matthew Bender, Rev. Ed.). See also
      Patrick H. Martin and Bruce M. Kramer, Williams & Meyers, Oil and
      Gas Law § 502 (LexisNexis Matthew Bender 2012) (including
      Pennsylvania among “a majority of the producing states [in which] a
      concurrent owner, at least under some circumstances, has been given
      the power to lease and develop his interest in the land concurrently
      owned,” and explaining that the “non-consenting cotenant is legally
      disabled from enjoining the drilling cotenant’s operations”); Lichtenfels


                                         - 11 -
       Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 19 of 37




      v. Bridgeview Coal Co., 344 Pa. Super. 257, 263, 496 A.2d 782, 785
      (1985) (“Another special rule relating to the mineral estate is that a
      tenant cannot restrain a cotenant with an undivided interest in the land
      from realizing the value of the estate by producing or consuming the
      underlying minerals.”).

Markowicz v. SWEPI, LP, 940 F. Supp. 2d 222, 228 (M.D. Pa. 2014). Even in cases

where the operator wrongfully excludes his co-tenants, such conduct may be

remedied by damages. See 1 Kuntz, Law of Oil and Gas § 5.6 (“[I]n a jurisdiction

in which a co-tenant is privileged to extract minerals without the consent of his co-

tenants [Pennsylvania], the action may be one for damages . . . if the co-tenant denies

the interests of his co-tenants and attempts to exclude them.” (emphasis added)); id.

(“If, however, the operating co-tenant denies the rights of his co-tenants, his entry is

wrongful and he will be liable for resulting damages.” (emphasis added)); Acierno,

40 F.3d at 655 (“[W]e think any actionable harm he may suffer, if it is ultimately

determined that the County violated his constitutional rights, can be remedied by an

award of money damages.”).

      Further, Chesapeake’s drilling and production of the Allocation Wells will not

in any way preclude the drilling and production of the Epsilon Wells, in the event

they are re-submitted and pursued by the parties to the JOAs. This is not a basis for

any claim of irreparable harm. The Allocation Wells and the Epsilon Wells target

separate and distinct zones in the Marcellus Formation. See Declaration of Sheldon

Burleson (“Burleson Decl.”) ¶¶ 4-7. The drilling and production of the Allocation



                                         - 12 -
       Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 20 of 37




Wells would therefore have no impact on the Epsilon Wells. See id. ¶¶ 7-9.

Contrary to Epsilon’s claims, the Auburn Gas Gathering system (the “Auburn

GGS”) and the well pad that would serve the Allocation Wells and the Epsilon Wells

can already accommodate, or can be adjusted to accommodate, both proposals. See

id. ¶¶ 10-15. In sum, Epsilon has failed to carry its burden under the Third Circuit’s

stringent standards for establishing irreparable harm in breach of contract cases such

as this one.

II.   CHESAPEAKE WILL SUFFER SIGNIFICANT HARM IF THE
      COURT GRANTS INJUNCTIVE RELIEF.
      Chesapeake will suffer significant harm from the delay in the schedule of the

Allocation Wells in the event that the Court grants the injunctive relief Epsilon seeks

in the Motion. Also, even applying Epsilon’s flawed theory of irreparable harm,

Chesapeake, who, unlike Epsilon, does have an interest in the leases through which

the Allocation Wells will traverse, would be the one allegedly deprived of its

property rights. “A basic purpose behind the balancing of the equities analysis is to

ensure that the issuance of an injunction would not harm the [nonmovant] more than

a denial would harm the movant.” Synthes, Inc. v. Gregoris, 228 F. Supp. 3d 421,

445 (E.D. Pa. 2017) (citations omitted). Courts in the Third Circuit hold that

injunctive relief that significantly impacts a defendant’s operations constitutes

irreparable harm. See N. Am. Commc’ns v. Herman, 2018 WL 1229709, at *4 (W.D.




                                        - 13 -
       Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 21 of 37




Pa. Mar. 8, 2018). Further, contrary to Epsilon’s claims, courts routinely evaluate

the harm that injunctive relief will pose to defendants’ economic interests:

       [G]ranting this preliminary injunction, which would effectively freeze
       $3,000,000 in the Defendant’s working capital for the pendency of this
       litigation, could severely harm the defendant’s interests. Given the
       substantial, and currently unresolved, legal and factual questions
       relating to the ultimate validity of Susquehanna's complaint, this factor
       also weighs heavily against granting the Plaintiff extraordinary relief at
       this time.

Susquehanna Commercial Fin., 2010 WL 95127, at *8 (citing J&S Development

Corp. v. Montrose Global Assets, Inc., 279 Fed. App’x 131, 133 (3d Cir. 2008);

Hoxworth v. Blinder, Robinson & Co., Inc., 903 F.2d 186 (3d Cir. 1990) (“As to the

possibility of harm to defendants, given the volatility and competitiveness of

financial markets, we cannot take seriously the district court’s findings that

defendants would not be harmed by an injunction encumbering at least tens of

millions of dollars of their assets.”)).

       An injunction would harm Chesapeake far more than a denial would harm

Epsilon. In the event the Court were to grant the Motion, Chesapeake’s operations

would be significantly affected, and it would suffer damages in the amount of at least

$10,913,824. See Burleson Decl. ¶¶ 16-17. If Chesapeake is unable to drill and

complete the Allocations Wells by June 15, 2019, which will likely be the case if

any preliminary injunction is granted, then the Cannella South Unit and the Rylee

North Unit must be reduced in size. See Moad Decl. ¶ 12. As a result, leases in the



                                           - 14 -
       Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 22 of 37




Rylee North Unit will expire, and Chesapeake will lose at least two additional wells

in that unit. Id., Exhibit 1; Burleson Decl. ¶¶ 16-17. The total value lost of two

Lower Marcellus wells just to Chesapeake will be $10,913,824, and the total value

lost to the all the working interest owners in the Rylee North JOA, besides Epsilon,

will be $22,031,654. See Burleson Decl. ¶ 17.

       Further, applying Epsilon’s flawed rationale of what constitutes irreparable

harm in this context, an injunction would actually irreparably harm Chesapeake

because it would prevent Chesapeake from making use of its own property rights by

drilling the Allocation Wells through the leases in which it, and not Epsilon, has an

interest. Cf. Persaud v. Exxon Corp., 867 F. Supp. 128, 141 (E.D.N.Y. 1994)

(holding that a real property owner’s inability to make productive use of its own

property may constitute irreparable harm). The balance of the equities weighs in

favor of denying the Motion, denying the injunction, and permitting Chesapeake to

proceed with its development of the Allocation Wells.

III.   GRANTING INJUNCTIVE RELIEF WILL HARM THIRD PARTIES
       AND IS NOT IN THE PUBLIC INTEREST.

       Granting injunctive relief will harm third parties, namely other working

interest owners in the JOAs and royalty owners in the applicable units, who will be

deprived of payments related to production if the Allocation Wells are not drilled

and operated. The public interest will also be harmed if the Court grants the




                                       - 15 -
       Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 23 of 37




injunctive relief Epsilon seeks in the Motion because it will deprive the public of the

benefits of the natural gas that the Allocation Wells would provide.

      In determining whether to grant a preliminary injunction, the Court must

consider the possibility of harm to third parties from the injunction. See Doe v.

Calcutta, 592 F.2d 704, 706 n.5 (3d Cir. 1979) (citing Delaware Port Authority v.

Transamerican Trailer Transport, Inc., 501 F.2d 917, 920 (3d Cir. 1974)). If the

Court grants the Motion and prevents Chesapeake from drilling and operating the

Allocation Wells, third party entities and individuals will be deprived of payments

related to the production from the Allocation Wells to which they are entitled. See,

e.g. Cobell v. Norton, 226 F. Supp. 2d 1, 103 (D.D.C. 2002) (noting that, in a prior

decision, the court could not “enjoin this operation at this time without inflicting

substantial harm on third parties and, indeed, without harming the very beneficiaries

of these trust records who will have critical payments delayed by the disruption of

operations that would result if the preliminary injunction issued.”). If Epsilon’s

injunction is granted, the other working interest owners in the Cannella South JOA

and the Rylee North JOA and the royalty owners in the Cannella South Unit and the

Rylee North Unit will be denied payments for production from the Allocation Wells

without the opportunity to participate and represent their interests.

      Further, the “need for natural gas supply” is a “substantial public interest.”

East Tennessee Natural Gas Co. v. Sage, 361 F.3d 808, 826 (4th Cir. 2004). Indeed,



                                        - 16 -
       Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 24 of 37




this Court and other courts throughout the country consider the production and

dissemination of natural gas as in the public interest for purposes of evaluating

requests for injunctive relief. See Transcon. Gas Pipe Line Co. v. Permanent

Easements for 5.67 Acres, 2017 WL 3412374, at *9 (M.D. Pa. Aug. 9, 2017)

(holding that public interest is served by construction of pipeline that would “give

the general public access to natural gas from the Marcellus Shale deposits for heating

their homes.”); Ouachita Watch League v. U.S. Forest Serv., 2014 WL 11498055,

at *4 (E.D. Ark. Dec. 15, 2014) (“Plaintiff’s conclusory allegations of environmental

harm do not outweigh the public interest in the development of natural gas resources

in the forest.”); Gulf Crossing Pipeline Co. v. 86.36 Acres of Land, 2008 WL

2465892, at *7-*8 (W.D. La. June 18, 2008) (holding that public interest is served

by construction of a pipeline because it “will increase the overall supply of natural

gas available for distribution to the public for the . . . winter heating season,

providing downward pressure on natural gas prices”); Guardian Pipeline, LLC v.

295.49 Acres of Land, 2008 WL 1751358, at *23 (E.D. Wis. Apr. 11, 2008) (holding

that denying injunctive relief sought by pipeline would “operate against the public

interest, potentially limiting the natural gas available to citizens of the region on

which the pipeline is to run, and/or contributing to already high natural gas prices”).

      Granting the Motion would harm the other working interest owners and

royalty owners in the Cannella South Unit and the Rylee North Unit because it would



                                        - 17 -
       Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 25 of 37




deprive them of payments related to production from the Allocation Wells. Granting

the Motion would also harm the public interest because it will prevent the

construction and operation of natural gas wells, the Allocation Wells, that will

benefit the public interest by providing much needed natural gas supply. There is

no public interest that is served by granting the injunctive relief sought by Epsilon.

IV.   EPSILON DOES NOT HAVE A LIKELIHOOD OF SUCCESS ON THE
      MERITS OF ITS BREACH OF CONTRACT CLAIMS.

      Epsilon cannot establish a likelihood of success on the merits of its breach of

contract claim for numerous reasons. First, Epsilon ignores an exculpatory clause

in the JOAs that absolves the operator, Chesapeake, from any liability except in the

case of gross negligence or willful misconduct. Second, Epsilon never re-submitted

its proposal for the Epsilon Wells after 90 days had passed from when the parties

consented to them, as it was required to under the Cannella JOAs. Third, the

Allocation Wells are not in conflict with the Epsilon Wells. Fourth, Chesapeake was

not required to propose the Allocation Wells as an alternative to the Epsilon Wells

within 30 days of their proposal because Chesapeake proposed the Allocation Wells

long after the proposal for the Epsilon Wells had lapsed. Fifth, Chesapeake’s

proposal of the Allocation Wells conformed to the JOAs. Epsilon chose not to

consent to the Allocation Wells, thereby removing itself from further involvement

in the drilling and completion of those wells. Accordingly, Epsilon cannot claim




                                        - 18 -
       Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 26 of 37




that its interests are being affected by the Allocation Agreement or the Allocation

Wells (and, in fact, the interests are not being affected).

      A.     Epsilon Cannot Meet the Stringent Standards Applied for
             Assessing its Likelihood of Success on the Merits.

      In the context of a commercial contract dispute, “the threshold question of

whether the movant has shown a reasonable probability of success on the merits

requires a substantial showing by the moving party of a present, actionable breach

of contract.” Susquehanna Commercial Fin., 2010 WL 95127, at *5. “Where such

an initial showing of an actionable breach of contract cannot be made, courts have

refused to grant preliminary injunctive relief.” Id. (citations omitted). In the absence

of a clear understanding of the roles of the parties and the nature of the transactions

at issue, fully informed judgments regarding the probability of success, or failure,

on the merits of the claims cannot be made. See id. at *7.

      B.     Epsilon Does Not Have a Likelihood of Success On the Merits
             Because Chesapeake Did Not Breach the JOAs.

             (i)    The JOAs Contain An Exculpatory Clause That Relieves the
                    Operator, Chesapeake, From Contract Liability.

      An exculpatory clause is a “clause in a contract designed to relieve one party

of liability to the other for specified injury or loss incurred in the performance of the

contract.” Williams & Meyers, Manual of Oil and Gas Terms, 372, 372 (2003). The

JOAs contain an exculpatory clause that applies to breach of contract claims brought

against the operator, Chesapeake.


                                         - 19 -
      Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 27 of 37




      Article V.A. of the JOAs states:

      Operator [Chesapeake] shall conduct its activities under this agreement
      as a reasonable prudent operator, in a good and workman-like manner,
      with due diligence and in accordance with good oilfield practice, but in
      no event shall it have any liability as Operator to the other parties for
      losses sustained or liabilities incurred except as much as may result
      from gross negligence or willful misconduct.

(Emphasis added). The Texas Supreme Court held that this clause broadened the

exculpatory scope of prior versions and applied to breach of contract actions,

including “actions under the JOA that are not limited to operations.”5 Reeder v.

Wood County Energy, LLC, 395 S.W.3d 789, 794-95 (Tex. 2012); see also Stine v.

Marathon Oil. Co., 976 F.2d 254, 261 (5th Cir. 1992) (holding that a prior version

of this exculpatory clause extended to breaches of a JOA and to any acts done under

the authority of the JOA as Operator). The court concluded that “[t]he agreed

standard exempts the operator from liability for its activities unless its liability-

causing conduct is due to gross negligence or willful misconduct.” Reeder, 395

S.W.3d at 795. In reaching its holding, the court applied the fundamental contract

interpretation principle, also followed by Pennsylvania courts, that the primary duty

of a court is to ascertain the true intentions of the parties as expressed in the

instrument. Id. at 794-95; Anchel v. Shea, 762 A.2d 346, 352 (Pa. Super. 2000) (“To




5
 The JOAs in Reeder and in this case are based on model form contracts used in the
oil and gas industry. See 395 S.W.3d at 794.

                                         - 20 -
      Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 28 of 37




discern the parties’ intent, the court must give effect to clear and unambiguous terms

without reference to matters outside the contract.”).

      In this case, Epsilon claims that Chesapeake has breached the JOAs by: (1)

not drilling and operating the Epsilon Wells; (2) not proposing the allegedly

conflicting Allocation Wells within 30 days of the Epsilon’s proposal of the Epsilon

Wells; and (3) planning to drill the Allocation Wells without Epsilon’s consent. See,

e.g., Memorandum in Support of Plaintiff’s Motion for Temporary and Preliminary

Injunction (“Epsilon’s Brief”) at 14-18. Under Reeder, these claims of breach of

contract against the operator, Chesapeake, are clearly barred by the exculpatory

clause in Article V.A. of the JOAs. Nothing in the Complaint or the Motion alleges

that any of Chesapeake’s purported breaches are the result of gross negligence or

willful misconduct. Rather, the so-called breaches are all premised on Chesapeake’s

purported misinterpretation of the JOAs, yet Chesapeake has complied with the

JOAs. The exculpatory clause in Article V.A. of the JOAs forecloses Epsilon’s

breach of contract claim against Chesapeake, the operator.

             (ii)   Chesapeake Did Not Breach the JOAs By Not Drilling the
                    Epsilon Wells Because Epsilon Did Not Re-Submit Its
                    Proposal for Them, as Required Under the JOAs.

      Chesapeake did not breach the JOAs by not drilling the Epsilon Wells because

Epsilon did not re-submit its proposal to drill those wells, as required by the JOAs,

after its initial proposal lapsed. See Epsilon’s Brief at 16-17; United States ex rel.



                                        - 21 -
       Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 29 of 37




Greenmoor, Inc. v. Travelers Cas. & Sur. Co. of Am., 2009 WL 4730233, at *49

(W.D. Pa. Dec. 4, 2009) (quoting Trumbull Corp. v. Boss Constr., Inc., 801 A.2d

1289, 1292 (Pa. Cmwlth. 2002)) (“[T]he party alleging breach must ‘prove that [it]

has performed all of [its] own obligations under the contract.’”).

      Under Article VI.B.1 of the JOAs, if a party desires to drill any well on the

Contract Area, the party must give written notice of the proposed operation to the

other parties. See Compl., Exhibits 2, 3, and 5. Within 30 days, the other parties

must notify the party proposing to do the work whether they elect to participate in

the cost of the proposed operation. Id. If all parties elect to participate in the

proposed operation, the parties are committed to doing so “provided such operations

are commenced within” 90 days. Id. However, “[i]f the actual operation has not

been commenced within the time period provided . . . and if any party hereto still

desires to conduct said operation, written notice proposing same must be

resubmitted to the other parties in accordance herewith as if no prior proposal had

been made.” Id. (emphasis added). In short, if wells are not commenced within the

90 day period – as the Epsilon Wells were not in this case – the parties must treat the

proposal as if it had never been made.

      In this case, Epsilon proposed the Epsilon Wells on February 8, 2018. They

were not commenced within 90-days following the expiration of the election period.

See Compl. ¶¶ 51-52.      Despite Article VI.B.1, Epsilon never re-submitted its



                                         - 22 -
      Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 30 of 37




proposal for the Epsilon Wells to the other parties to the JOAs “as if no prior

proposal had been made.” See id., Exhibits 2, 3, and 5; Moad Decl. ¶ 7. Based on

this failure, Epsilon’s proposal for the Epsilon Wells lapsed, and Epsilon cannot

claim that Chesapeake breached the JOAs by not commencing operations on them.

Instead, Article VI.B.1. of the JOAs required Chesapeake to treat the proposal for

the Epsilon wells “as if [it] had [not] been made.” See Compl., Exhibits 2, 3, and 5.

             (iii)   Chesapeake Did Not Breach Any Required Process in the
                     JOAs in Proposing the Allocation Wells Because the
                     Allocation Wells and the Epsilon Wells Do Not Conflict.

      Epsilon’s claim that Chesapeake failed to follow the process in the JOAs for

proposing the allegedly “conflicting” Allocation Wells fails. See Epsilon’s Brief at

17-18. This claims rests on an incorrect premise. The Allocation Wells proposal

and the Epsilon Wells proposal are not “conflicting” because the Epsilon Wells

proposal lapsed before the Allocation Wells proposal was ever made. Even if that

were not the case, the Allocation Wells and the Epsilon Wells do not conflict because

they target separate and distinct Zones as defined under the JOAs, and have no

impact on the drilling and production of each other.

      Under Article VI.B.6 of the JOAs, if any party desires to propose an operation

that conflicts with a proposal that has already been made, the party has 30 days from

the initial proposal to make an alternative proposal. See Compl., Exhibits 2, 3, and

5. In this case, as noted above, Epsilon’s February 8, 2018 proposal of the Epsilon



                                       - 23 -
      Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 31 of 37




Wells lapsed after June 8, 2018, which is 90-days after the election period ended and

well before Chesapeake proposed the Allocation Wells on August 15, 2018.

Epsilon’s claim that Chesapeake was required to propose the Allocation Wells

within 30 days of February 8, 2018 ignores the lapse of the Epsilon Wells proposal.

Epsilon’s interpretation of Article VI.B.6 of the JOAs would lead to the absurd result

that any proposal could be considered conflicting with any prior proposal, regardless

of the objecting party’s lack of compliance with the JOAs or the amount of time

between the proposals. See Walney v. SWEPI LP, 2018 WL 4076919, at *6 (W.D.

Pa. Aug. 27, 2018) (noting that courts interpret contracts in a way that avoids an

absurd or unreasonable result).

      Further, the Allocation Wells and the Epsilon Wells do not actually conflict.

Despite Epsilon’s assertions, see Compl. ¶¶ 60-62, the Allocation Wells will not

exhaust natural gas capacity or otherwise negatively impact the potential

development of the Epsilon Wells. See Burleson Decl. ¶¶ 7-9. Additionally, the

Auburn GGS and the well pad that will serve the Allocation Wells either already can

accommodate, or can be expanded to accommodate, both proposals. See id. ¶¶ 10-

15. Epsilon has not and cannot show that Chesapeake breached the JOAs by not

proposing the Allocation Wells as a conflicting proposal under Article VI.B.6.




                                        - 24 -
      Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 32 of 37




             (iv)   Chesapeake Did Not Breach or “Unilaterally Amend” the
                    JOAs in Proposing the Allocation Wells, and Epsilon’s Non-
                    Consent Precludes Further Challenge.

      Both of the JOAs and Epsilon’s election of non-consent to the Allocation

Wells on September 14, 2018 foreclose Epsilon’s claims that Chesapeake breached

or “unilaterally amended” the JOA by proposing the Allocation Wells. See Epsilon’s

Brief at 14-15. The Allocation Wells are within the Contract Areas of both the

Cannella South Unit and the Rylee North Unit, and therefore, Chesapeake gave

notice to the parties of the Cannella South JOA and the Rylee North JOA, along with

the Allocation Agreement. Under Article VI.B.1, the parties had 30 days to elect to

participate in the cost of the proposed operation. On September 14, 2018, Epsilon

elected not to participate in the Allocation Wells.        At that point, Epsilon’s

involvement with respect to further planning or operation of the Allocation Wells

ceased. See Compl, Exhibits 2, 3, and 5.

      In any event, nothing in the JOAs prohibits Chesapeake from proposing and

drilling the Allocation Wells across units. Under Article VI.B.1, the Allocation

Wells are “on the Contract Areas” of both the Cannella South Unit and the Rylee

North Unit, and therefore, Chesapeake properly proposed them pursuant to both the

Cannella South JOA and the Rylee North JOA. By virtue of its non-consent, Epsilon

elected to not participate in the drilling and completion of the Allocation Wells, and

Chesapeake therefore does not need Epsilon’s consent under the JOAs to drill the



                                        - 25 -
      Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 33 of 37




Allocation Wells. Notably, besides Epsilon, every other party to the Cannella South

JOA and the Rylee North JOA consented to the Allocation Wells. See Moad Decl.

¶ 14; Susquehanna Commercial Fin., 2010 WL 95127, at *7 (“Susquehanna simply

argues that it has clearly shown a contractual breach by VRI, but does not present

proof that this view is shared by Brookeside, the entity which would be most directly

and adversely affected by that breach.”).

V.    IF THE COURT GRANTS THE MOTION, WHICH IT SHOULD NOT,
      IT SHOULD REQUIRE EPSILON TO POST A SIGNIFICANT BOND.
      In the event the Court were to grant the injunctive relief requested in the

Motion, which it should not, the Court should require Epsilon to post a bond in the

amount of $22,000,000. Under Fed. R. Civ. P. 65(c), “[t]he court may issue a

preliminary injunction or a temporary restraining order only if the movant gives

security in an amount that the court considers proper to pay the costs and damages

sustained by any party found to have been wrongfully enjoined or restrained.” “Rule

65(c) gives the district court wide discretion to set the amount of a bond.” Transcon.

Gas Pipe Line Co., 2017 WL 3412374, at *9. However, “there are important policies

undergirding a strict application of the bond requirement in most injunction granting

contexts.”   Instant Air Freight Co., 882 F.2d at 805-06 n.9.          “An incorrect

interlocutory order may harm defendant and a bond provides a fund to compensate

incorrectly enjoined defendants.” Id. at 804. “[B]ecause of attenuated procedure,




                                        - 26 -
      Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 34 of 37




an interlocutory order has a higher than usual chance of being wrong[,]” and,

therefore a bond is especially important in the preliminary injunction context. Id.

      Accordingly, “when settling the amount of security, district courts should err

on the high side[.]” Pella Prods., Inc. v. Pella Corp, 2018 WL 2734820, at *15

(M.D. Pa. June 7, 2018) (quoting Habitat Educ. Ctr. v. U.S. Forest Serv., 607 F.3d

453, 456 (7th Cir. 2010)) (setting bond at $1,000,000.00 without any evidence before

the court). Courts have imposed bonds “equal to two times” expected damages. See

Sabal Trail Transmission, LLC v. +/- 2.62 Acres of Land in Hamilton County

Florida, 2016 WL 3188976, at *6 (M.D. Fla. June 8, 2016) (requiring gas company

to post bond “equal to two times the appraised value of the parcel” at issue). In this

case, as demonstrated above, Chesapeake will suffer significant damages, in the

amount of at least $10,913,824, from any delay in the construction and operation of

the Allocation Wells. Thus, Chesapeake requests that the Court require Epsilon to

post a bond of at least $22,000,000, which is “equal to two” times Chesapeake’s

lowest estimate of its damages. See id.

                                  CONCLUSION

      For the foregoing reasons, the Court should deny the Motion. In the event the

Court grants the Motion, the Court should require Epsilon to post a bond in the

amount of at least $22,000,000.




                                          - 27 -
      Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 35 of 37




                                     REED SMITH LLP

Dated: October 2, 2018               /s/ Nicolle R. Snyder Bagnell
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                                   - 28 -
      Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 36 of 37




                     CERTIFICATE OF BRIEF LENGTH

      I certify Defendant Chesapeake Appalachia, L.L.C.’s Brief in Opposition to

Plaintiff Epsilon Energy USA Inc.’s Motion for Temporary and Preliminary

Injunctive Relief complies with Local Rule 7.8 and this Court’s Order extending the

page limit to 8,000 words. I certify that this Brief contains 6,977 words.

                                          /s/ Nicolle R. Snyder Bagnell




                                       - 29 -
      Case 3:18-cv-01852-MEM Document 23 Filed 10/02/18 Page 37 of 37




                        CERTIFICATE OF SERVICE

      I certify that on October 2, 2018, a true and correct copy of the foregoing

Defendant Chesapeake Appalachia, L.L.C.’s Brief in Opposition to Plaintiff Epsilon

Energy USA Inc.’s Motion for Temporary and Preliminary Injunctive Relief has

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                                      - 30 -
